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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF LOUISIANA
                                   LAKE CHARLES DIVISION

THOMAS LEBEAU and                                    CIVIL CASE NO.__________________
CAROL LEBEAU

VS                                                   JUDGE JAMES DAVID CAIN, JR.

STATE FARM FIRE AND                                  MAGISTRATE JUDGE KATHLEEN KAY
CASUALTY COMPANY
--------------------------------------------------------------------------------------------------------------------

               COMPLAINT FOR DAMAGES AND STATUTORY PENALTIES

        NOW INTO COURT, through undersigned counsel, come Plaintiffs, THOMAS LEBEAU

AND CAROL LEBEAU, who respectfully represent:

                                                         1.

        Made Defendant herein:

        STATE FARM FIRE AND CASUALTY COMPANY (“STATE FARM”), a foreign

insurance corporation authorized to do and doing business in the State of Louisiana that can be

served through the Louisiana Secretary of State.

                                 JURISDICTIONAL ALLEGATIONS

                                                         2.

        The Court has diversity jurisdiction over this matter in accordance with 28 U.S.C. § 1332.

                                                         3.

        Plaintiffs are citizens of the State of Louisiana. On information and belief, State Farm is a

corporation formed and headquartered in the State of Illinois. Complete diversity between the

parties exists.

                                                         4.

        The amount in controversy exceeds $75,000.00.

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                                                   5.

        State Farm issued the policy of insurance upon which this suit is based to Plaintiffs,

insuring their home located at 3520 Lisa Lane, Lake Charles, Louisiana. This Court has personal

jurisdiction over State Farm.

                                       CAUSES OF ACTION

                                                   6.

        State Farm insured Plaintiffs under Policy No. 18-GE-6753-0, which was in full force and

effect on both August 27, 2020 and October 9, 2020.

                                                   7.

        Plaintiffs’ home suffered damage and diminution in value as a result of Hurricane Laura

on August 27, 2020 and Hurricane Delta on October 9, 2020.

                                                   8.

        On or about September 10, 2020, following Hurricane Laura, State Farm inspected

Plaintiffs’ home and issued an estimate totaling $6,125.46 for dwelling and $3,209.60 for other

structures, after application of deductible and depreciation. State Farm again inspected Plaintiffs’

home on October 19, 2020, following Hurricane Delta and issued an estimate totaling $621.47 for

dwelling, after application of deductible and depreciation. These amounts did not take into account

the full extent of Plaintiffs’ hurricane losses.

                                                   9.

        State Farm’s adjustments were unreasonably low, were unrealistic, and gave Plaintiffs no

opportunity to conduct all repairs needed to return their home to its pre-hurricane condition.




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                                                 10.

       State Farm had satisfactory proof of loss upon its initial inspections of the premises, yet

unreasonably withheld accurate and defensible accountings of the full extent of the damages

caused by the storms.

                                                 11.

       Plaintiffs also have claims for damaged contents and additional living expenses.

                                                 12.

       La. R.S. 22:1892 states an insurer “shall pay the amount of any claim due any insured

within thirty (30) days after receipt of satisfactory proofs of loss from the insured.” State Farm

failed to pay amounts due to its insured within thirty (30) days after receipt of satisfactory proof

of loss of the claim, thus making State Farm liable to Plaintiffs for penalties, attorney’s fees, and

costs under La. R.S. 22:1892.

                                                 13.

       Additionally, La. R.S. 22:1973 states that “failing to pay the amount of any claim due any

person by the contract within sixty (60) days after receipt of satisfactory proof of loss from the

claimant when such failure is arbitrary, capricious, or without probable cause” constitutes a breach

of the insurer’s duty of good faith and fair dealing. State Farm has violated its statutory obligation

and duty in its dealings with the Plaintiffs.

                                                 14.

       La. R.S. 22:1973 identifies certain acts which constitute a breach of the insurer’s general

duty of good faith and fair dealing to the insured. An insurer like State Farm is prohibited from

“misrepresenting pertinent facts or insurance policy provisions relating to any coverages at issue.”




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State Farm has misrepresented pertinent facts and insurance policy provisions in its dealings with

Plaintiffs by representing that the original estimate was a fair estimate of the damages.

                                                  15.

        State Farm’s failure to fairly and promptly adjust the full extent of Plaintiffs’ claim has

caused them contractual and extra-contractual damages including but not limited to grief and

mental anguish, worry and stress from dealing with the insurance claim, concern over whether

there would be sufficient funds to repair the home, and additional time delays associated with

repairing the home. These damages, and others associated with them that were caused by State

Farm’s delay, render it liable to Plaintiffs for their attorney’s fees and costs.

                                                  16.

        State Farm knew or should have known that its failure to timely pay Plaintiffs’ insurance

claims prevented them from repairing their home, and should have known that its failure to pay

Plaintiffs’ insurance claims would cause them grief, mental anguish, and worry.

                                                  17.

        WHEREFORE, THOMAS LEBEAU AND CAROL LEBEAU pray that there be judgment

in their favor against STATE FARM FIRE AND CASUALTY COMPANY as follows:

        (1)     Finding STATE FARM FIRE AND CASUALTY COMPANY for statutory

penalties, contractual and extra-contractual damages, attorney’s fees, and costs under La. R.S.

22:1892 and/or 22:1973, and awarding them the same;

        (2)     Awarding THOMAS LEBEAU AND CAROL LEBEAU general damages caused

by STATE FARM’S breach of its duty of good faith and fair dealing;




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       (3)     For specific damages and general damages, including but not limited to diminution

in value, penalties and attorney’s fees, all costs of these proceedings, and interest from date of

judicial demand until paid; and

       (4)     For any and all other relief that is justified under law and equity.

                                              Respectfully submitted,

                                              LUNDY, LUNDY, SOILEAU & SOUTH, LLP

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                                              Carol LeBeau




SERVICE INSTRUCTIONS:

STATE FARM FIRE AND CASUALTY COMPANY
Through its Agent for Service of Process
Louisiana Secretary of State
8585 Archives Avenue
Baton Rouge, LA 70809




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